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                UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION


   Timothy Jackson,

                           Plaintiff,
                                                    Case No. 4:21-cv-00033-ALM
   v.

   Laura Wright, et al.,

                           Defendants.


  PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO STAY
            PROCEEDING PENDING APPEAL AND
         MOTION TO CERTIFY APPEAL AS DILATORY
        On January 18, 2022, this Court denied the defendants’ motion to dismiss. See
  Order, ECF No. 47. The defendants took an interlocutory order because this Court
  rejected a sovereign-immunity defense. See Puerto Rico Aqueduct & Sewer Authority

  v. Metcalf & Eddy, Inc., 506 U.S. 139, 147 (1993) (“States and state entities that
  claim to be ‘arms of the State’ may take advantage of the collateral order doctrine to
  appeal a district court order denying a claim of Eleventh Amendment immunity.”);
  McCarthy ex rel. Travis v. Hawkins, 381 F.3d 407, 411–12 (5th Cir. 2004) (“Under

  the collateral order doctrine, this court has jurisdiction over an interlocutory appeal
  from a denial of a motion to dismiss asserting Eleventh Amendment immunity.”).
        The defendants are asking this Court to stay its proceedings while they pursue
  their interlocutory appeal, but that request should be denied. A notice of appeal can-
  not divest a district court of jurisdiction if the appeal is frivolous or dilatory. Although
  “the filing of a non-frivolous notice of interlocutory appeal following a district court’s
  denial of a defendant’s immunity defense divests the district court of jurisdiction to
  proceed against that defendant,” Williams v. Brooks, 996 F.2d 728, 730 (5th Cir.




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  1993), this does not short circuit the Plaintiff's case here. This is because “a district
  court is permitted to maintain jurisdiction over an interlocutory appeal of an immun-
  ity denial after certifying that the appeal is frivolous or dilatory.” BancPass, Inc. v.
  Highway Toll Admin., L.L.C., 863 F.3d 391, 400 (5th Cir. 2017).
      The defendants’ sovereign-immunity arguments are baseless. The plaintiff’s
  claims fall squarely within the Ex parte Young exception to sovereign immunity, as
  they allege a violation of federal law and seek prospective relief. See Verizon Maryland,
  Inc. v. Public Service Comm’n of Maryland, 535 U.S. 635, 645 (2002) (“In determin-
  ing whether the doctrine of Ex parte Young avoids an Eleventh Amendment bar to
  suit, a court need only conduct a ‘straightforward inquiry into whether [the] com-
  plaint alleges an ongoing violation of federal law and seeks relief properly character-
  ized as prospective.’” (citation omitted)).
      The Court recognized as much in its order of January 18, 2022. See Order, ECF
  No. 47, at 23–26. And there is no conceivable basis for doubting the Court’s conclu-
  sions, as Mr. Jackson’s complaint specifically alleges an ongoing violation of federal
  law1 and specifically asks the Court to “enjoin” the Board of Regents “from taking

  any adverse action against Professor Jackson in response to the publication of the
  symposium or his criticisms of Professor Ewell.” Complaint, ECF No. 1, ¶ 64.

      The defendants have every right to appeal the Court’s ruling, but they cannot be
  allowed to delay these proceedings by choosing to pursue a losing sovereign-immun-
  ity argument on appeal.




  1. See Complaint, ECF No. 1, ¶ 62 (“The University of North Texas and its officials
     are retaliating against Professor Timothy Jackson for his criticisms of Philip Ewell,
     in violation of Professor Jackson’s rights under the First and Fourteenth Amend-
     ments.” (emphasis added)).


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                                  CONCLUSION
      The defendants’ motion to stay proceedings pending appeal should be denied.
  The Court should certify the defendants’ appeal as dilatory and retain jurisdiction
  over these proceedings.

                                              Respectfully submitted.

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                         CERTIFICATE OF SERVICE
      I certify that on February 15, 2022, I served this document through CM/ECF
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